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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF INDIANA
                                  EVANSVILLE DIVISION

IN RE                                          )
                                               )
KATHY ANN KAYS,                                )       CASE NO. 18-70589-BHL-7
    Debtor.                                    )



                 MOTION TO APPROVE COMPROMISE AND SETTLEMENT
                       AND NOTICE OF OBJECTION DEADLINE

        Comes now R. Stephen LaPlante, Trustee, and debtor Kathy Ann Kays, in person and by

counsel, and for their Motion to Compromise and Settle state as follows:

        1.     The debtor filed this Chapter 7 bankruptcy case on May 31, 2018, and thereafter the

Trustee was appointed.

        2.     Property of the estate includes non-exempt funds in debtor’s checking account at

Fifth Third Bank in the amount of $937.21.

        3.     Trustee has agreed to allow the debtor to repay the checking account funds as

follows subject to Court approval: payments of $100.00 due by the first business day of each

month, with the first payment due on or before September 4, 2018; and payment from her 2018 tax

refund, all as evidenced by the attached Exhibit “A.”

        4.     That debtor further agrees that if debtor defaults on the payment terms, the Trustee

will file a Notice of Default in this case and in that notice will request that the debtor’s discharge be

revoked. If within 10 days after the filing of that Notice of Default the debtor has not filed an

objection, the debtor waives the requirement of a separate adversary proceeding and consents to the

revocation of debtor’s discharge.
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       5.      Debtor understands that debtor may be waiving significant rights and acknowledges

that debtor has been advised to consult with counsel about debtor’s rights and options.

       NOTICE IS GIVEN that any objection must be filed with the Bankruptcy Clerk within 21

days from date of service [or such other time period as may be permitted pursuant to

Fed.R.Bankr.P. 9006(f)]. Those not required or not permitted to file electronically must deliver any

objection by U.S. Mail, courier, overnight/express mail, or in person at:

                                      352 Federal Building
                               101 N.W. Martin Luther King, Jr. Blvd.
                                      Evansville, IN 47708

       The objecting party must ensure delivery of the objection to the trustee. If an objection is

NOT timely filed, the requested relief may be granted.

       WHEREFORE, the Trustee and debtor pray that this Court approve this compromise and

settlement, and grant such other relief as is just and proper in the premises.




                                              /s/ R. Stephen LaPlante, Trustee
                                              R. Stephen LaPlante, Trustee
                                              101 N.W. First Street, Suite 116
                                              P.O. Box 3556
                                              Evansville, IN 47734-3556
                                              Telephone: (812) 463-6093
                                              Facsimile: (812) 463-6094
                                              E-mail:        slaplante@keatingandlaplante.com
                                                             rallen@keatingandlaplante.com
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on August 31, 2018, a copy of the foregoing Motion to Approve
Compromise and Settlement was filed electronically. Notice of this filing will be sent to the
following parties through the Court’s Electronic Case Filing System. Parties may access this filing
through the Court’s system.

kinkadeassociates@hotmail.com
kinkadeandassociates@hotmail.com
ustpregion10.in.ecf@usdoj.gov

       I further certify that on August 31, 2018, a copy of the foregoing Motion to Approve
Compromise and Settlement was mailed by first class U.S. Mail, postage prepaid, and properly
addressed to the following:

See attached matrix



                                            /s/ R. Stephen LaPlante, Trustee
                                            R. Stephen LaPlante, Trustee
                                            101 N.W. First Street, Suite 116
                                            P.O. Box 3556
                                            Evansville, IN 47734-3556
                                            Telephone: (812) 463-6093
                                            Facsimile: (812) 463-6094
                                            E-mail:        slaplante@keatingandlaplante.com
                                                           rallen@keatingandlaplante.com
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